        Case 1:19-cr-00022-DLC Document 67 Filed 10/24/19 Page 1 of 2



                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            BILLINGS DIVISION


 UNITED STATES OF AMERICA,                            CR 19–22–BLG–DLC

                      Plaintiff,
                                                              ORDER
        vs.

 TANA RAE ROMERO,

                      Defendant.



      United States Magistrate Judge Timothy J. Cavan entered Findings and

Recommendation in this matter on October 3, 2019. Neither party objected and

therefore they are not entitled to de novo review of the record. 28 U.S.C. §

636(b)(1); United States v. Reyna-Tapia, 328 F.3d 1114, 1121 (9th Cir. 2003).

This Court will review the Findings and Recommendation for clear error.

McDonnell Douglas Corp. v. Commodore Bus. Mach., Inc., 656 F.2d 1309, 1313

(9th Cir. 1981). Clear error exists if the Court is left with a “definite and firm

conviction that a mistake has been committed.” United States v. Syrax, 235 F.3d

422, 427 (9th Cir. 2000).

      Judge Cavan recommended this Court accept Tana Rae Romero’s guilty


                                           1
        Case 1:19-cr-00022-DLC Document 67 Filed 10/24/19 Page 2 of 2



plea after Romero appeared before him pursuant to Federal Rule of Criminal

Procedure 11, and entered a plea of guilty to possession with intent to distribute

methamphetamine in violation of 21 U.S.C. § 841(a)(1) as charged in Count II of

the Indictment.

      I find no clear error in Judge Cavan’s Findings and Recommendation (Doc.

66), and I adopt them in full.

      Accordingly, IT IS ORDERED that Tana Rae Romero’s motion to

change plea (Doc. 48) is GRANTED and Tana Rae Romero is adjudged guilty as

charged in Count II of the Indictment.

      DATED this 24th day of October, 2019.




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